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Certificate of Service

I ,the undersigned, certify that I have served the parties in open court or by mail in

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IS/ chal

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